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 7
                           IN THE UNITED STATES DISTRICT COURT
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                              EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                    CASE NO. 1:12-CR-00031-AWI-BAM
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                               Plaintiff,         ORDER FOR FORFEITURE MONEY
12                                                JUDGMENT
                         v.
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     KIM GRAY,
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                               Defendant.
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           Based upon the United States’ Application for Forfeiture Money Judgment and the
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     plea agreement entered into between plaintiff United States of America and defendant
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     Kim Gray,
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           IT IS HEREBY ORDERED that
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           1.     Defendant Kim Gray shall forfeit to the United States $25,803, and the Court
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     imposes a personal forfeiture money judgment against the defendant in that amount.
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           2.     Any funds applied towards such judgment shall be forfeited to the United
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     States of America and disposed of as provided for by law. Prior to the imposition of
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     sentence, any funds delivered to the United States to satisfy the personal money judgment
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     shall be seized and held by the United States Marshals Service, in its secure custody and
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     control.
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           3.     This Order of Forfeiture shall become final as to the defendant at the time of
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      Order for Forfeiture Money Judgment         1
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                            Case 1:12-cr-00031-AWI-BAM Document 129 Filed 09/17/13 Page 2 of 2


 1 sentencing and shall be made part of the sentence and included in the judgment.

 2 4.                       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this
 3 Order of Forfeiture to substitute property having a value not to exceed $246,303 to satisfy

 4 the money judgment in whole or in part.

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 7 IT IS SO ORDERED.

 8 Dated: September 16, 2013
                                                          SENIOR DISTRICT JUDGE
 9   DEAC_Sign ature-END:




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                     Order for Forfeiture Money Judgment         2
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